""'AO 2458    (Rev. 12/03) Judgment tn a Criminal Case
   NeED       Sheet I



                                          UNITED STATES DISTRICT COURT
                         Eastern                                     District of                               North Carolina
          UNITED STATES OF AMERICA                                            JUDGMENT IN A CRIMINAL CASE
                                v.
               EDGARDO GERENA                                                 Case Number: 4:10-CR-8-2F

                                                                              USM Number:53205-056

                                                                              Joseph L. Ross, II
                                                                              Defendant's Attomey
THE DEFENDANT:
~ pleaded guilty tD CDunt(s)         2 (Indictment)

o pleaded nDID contendere to count(s)
   which was accepted by the court.
o was found guilty on count(s)
   after a plea of not guilty

The defendant is adjudicated gui Ity of these offenses:

Title & Section                                  Nature of Offense                                                  Offense End ed

18 U.S.C. § 922(g) (1) and 924                    Felon in Possession of a Firearm                                   9/11/2008           2




       The defendant is sentcnced as provided in pages 2 through              _ _6_ _ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
o The defendant has been found not guilty on count(s)
o Count(s) ____________ 0 is o are dismissed on the motion of the United States.
         It is ordered that thc defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address unti Iall fines, restitution, costs, and special assessments imposed by this judgment are fully paid. Jf ordered to pay restitution,
the defenaant must notify the court and United States attorney of material changes in economIc circumstances.

  sentencing Location:                                                        7/21/2010
   Wilmington, NC                                                             Date of Imposition of Judgment




                                                                               JAMES C. FOX, SENIOR U.S. DISTRICT JUDGE
                                                                              Name and Title of Judge


                                                                              7/21/2010
                                                                              Date




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AO 2458      (Rcv. 12/03) Judgmcnt in Criminal Casc
   NCED      Shcct 2 - Imprisonmcnt

                                                                                                                            Judgmcnt - Pagc                                      2                    or   6
DEFENDANT: EDGAR DO GERENA
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                                                              IMPRISONMENT

        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:

 COUNT 2 - ONE YEAR AND ONE DAY



  o The court makes the following recommendations to the Bureau of Prisons:


  ~ The defendant is remanded to the custody of the United States Marshal.
  o The defendant shall surrender to the United States Marshal for this district:
    o at _ _ _ _ _ _ _ _ _ 0 a.m. o p.m. on
    o as notified by the United States Marshal.
  o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          01] before        p.m. on

          01] as notified by the United States Marshal.             Or

          o as notified by the Probation or Pretrial Services Office.

                                                                    RETURN
I have executed this judgment as follows:




          Defendant delivered on                                                           to

a~                                                    , with a certified copy of this judgment.



                                                                                                                    UNITED STATES MARSHAL


                                                                            By                  ----,=..,.-,=.,.,....,..,.,,..,..,..,,,,,,..,,.....,="'"=,...,....,...,....,,....,,.,,..,...,....,.            _
                                                                                                        DEPUTY UNITED STA TES MARSHAL




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AD 245B     (Rev. 12/03) Judgment in a Criminal Case
   NCED     Sheet 3 - Supervised Release
                                                                                                        Judgment   Page   --.3- of           6
DEFENDANT: EDGARDO GERENA
CASE NUMBER: 4:10-CR-8-2F
                                                       SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
     COUNT 2 ·3 YEARS
     The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance, The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment ana at least two periodic drug tests
thereafter, as determined by the court,
D      The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk offuture
       substance abuse.
\If    The defendant shall not possess a firearm, destructive device, or any other dangerous weapon, (Check, if applicable.)
~      The defendant shall coopcrate in the collection of DNA as directed by the probation officer. (Check, if applicable,)
D      The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
       student, as directed by the probation officer. (Check, if applicable.)
D    The defendant shall participate in an approved program for domestic violence, (Check, if applicable,)
     If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments stieet of this judgment.
     The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page,
                                             STANDARD CONDITIONS OF SUPERVISION
 I.    The defendant shall not leave the judicial district or other specified geographic area without the permission of the court or probation
       officer.
2,     The defendant shall report to the probation officer as directed by the court or probation officer and shall submit a truthful and
       complete written report within the first five (5) days of each month.
3,     The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer,
4,     The defendant shall support the defendant's dependents and meet other family responsibilities,
5,     The defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training, or other
       acceptable reasons.
6.     The defendant shall noti fy the probation officer at least then ( I 0) days prior to any change of residence or employment.
7,     The defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use distribute, or administer any controlled
       substance, or any paraphernalia related to any controlled substance, except as prescribed by a physician.
8,     The defendant shall not frequent places where controlled substances are illegally sold, used distributed, or administered, or other
       places specified by the court.
9,     The defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person convicted of
       a felony unless granted permission to do so by the probation officer.
 10, The defendant shall permit a probation officer to visit the defendant at any time at home or elsewhere and shall permit confiscation of
     any contraband observed in plain view by the probation officer.
 11, The defendant shall notify the probation officer within seventy-two (72) hours of being arrested or questioned by a law enforcement
     officer,
 12, The defendant shall not cntcr into any agreement to act as an informer or a special agent of a law enforcement agency without the
     permission of the court.
 13, As directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's
     criminal record or personal history or characteristics, and shan permIt the probation officer to make such notifications and to confirm
     the defendant's compliance with such notification requirement.




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AO 2458   (Rev. 12/03) Judgment in a Criminal Case
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                                    ADDITIONAL SUPERVISED RELEASE TERMS
 The defendant shall provide the probation office with access to any requested financial information.

 The defendant shall not incur new credit charges or open additional lines of credit without the approval of the probation
 office.

 The defendant shall participate as directed in a program approved by the probation office for the treatment of narcotic
 addiction, drug dependency, or alcohol dependency which will include urinalysis testing or other drug detection measures
 and may require residence or participation in a residential treatment facility.

 The defendant shall participate in a program of mental health treatment, as directed by the probation office.

 The defendant shall consent to a warrantless search by a United States probation officer or, at the request of the probation
 officer, any other law enforcement officer, of the defendant's person and premises, including any vehicle, to determine
 compliance with the conditions of this judgment.

 While under supervision in the Eastern District of NC, the defendant shall participate in the DROPS Program and, in
 response to detected illegal drug use, shall be confined in the custody of the Bureau of prisons for a period not to exceed
 30 days of intermittent confinement, as arranged by the probation office, in the following increments; First Use - Two Days;
 Second Use - Five Days; Third Use - Ten Days

 The defendant shall cooperate in the collection of DNA as directed by the probation officer.




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AO 245B   (Rev. 12/03) Judgment in a Criminal Case
  NeED    Sheet 5 - Criminal Monetary Penalties
                                                                                                  Judgment - Page       5    of        6
DEFENDANT: EDGARDO GERENA
CASE NUMBER: 4:10-CR-8-2F
                                                CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                    Assessment                                                                            Restitution
TOTALS            $ 100.00                                       $                                    $



o The determination of restitution is deferred until ---. An Amended Judgment in a Criminal Case (AO 245C) will be entered
     after such determination.

o The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
     the priority order or percentage payment column below. However, pursuant to 18 U.S.c. § 3664(i), all nonfederal victims must be paid
     before the United States is paId.

Name of Payee                                                         Total Loss"         Restitution Ordered       Priority or Percentage




                                 TOT""'A-=L=S                _                   $0.00                     $0.00


DO Restitution amount ordered pursuant to plea agreement $
CID The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S.c. § 3612(f). A II of the payment options on Sheet 6 may be subject
     to penalties for delinquency and default, pursuant to J 8 U.S.c. § 3612(g).

o The court determined that the defendant does not have the ability to pay interest and it is ordered that:
  o the interest requirement is waived for the 0 fine 0 restitution.
  o the interest requirement for the 0 fine 0 restitution is modified as follows:

* Findings for the total amount of losses are required under Chapters I09A, 110, II OA, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.



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AO 2458    (Rev. 12/03) Judgment In a Criminal Case
    NeED   Sheet 6 -- Schedule of Payments
                                                                                                         Judgment -- Page   --fL- of         6
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                                                          SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

A      0   Lump sum payment of $                                 due immediately, balance due

           o     not later than                                     , or
           o     in accordance           o C,         0    D,   0     E, or     0 F below; or
B      0   Payment to begin immediately (may be combined with                 0 C,     0 D, or    0 F below); or
C      0   Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $                       over a period of
                        (e.g., months or years), to commence                 (e.g., 30 or 60 days) after the date of this judgment; or

D      0   Payment in equal                     (e.g., weekly, monthly, quarterly) installments of $                     over a period of
                         (e.g., months or years), to commence                 (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

E      0   Payment during the term of supervised release will commence within                 (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F      ~ Special instructions regarding the payment of criminal monetary penalties:

            The special assessment imposed shall be due in full immediately.




Unless the court has expressly ordered otherwise, ifthisjudgment imposes imprisonment, payment ofcriminal monetary penalties is due during
imprisonment. All cnminal monetary penalties, except those payments made through tne Federal Bureau of Prisons' Inmate Financial
Responsibility Program, arc made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



o Joint and Several
       Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
       and corresponding payee, if appropriate.




o The defendant shall pay the cost of prosecution.
o The defendant shall pay the following court cost(s):
o The defendant shall forfeit the defendant's interest in the following property to the United States:


Payments shall be applied in the following order: (I) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine illterest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.




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